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HARVEY & BINNALL
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January 21, 2020

Stephen C. Dries

Clerk, U.S. District Court
Eastern District of Wisconsin
517 E. Wisconsin Ave, Room 362
Milwaukee, WI 53202

RE: Doev. Marian University
Case No. 19-cv-388

Dear Mr. Dries,

This letter serves as John Doe’s response to your letter of January 6, 2020
regarding the defendant’s proposed Bill of Costs. Mr. Doe does not object to the
proposed Bill of Costs.

Please contact me if you need any additional information.

Very truly yours,

Jesse R>Binnall
Counsel for John Doe

cc: D. Tierney, Esq., Counsel for Defendant (via ECF)

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